Exhibit E
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


FULL CIRCLE UNITED, LLC,                             CASE NO. 1:20-CV-03395

         Plaintiff,                                   BAY TEK ENTERTAINMENT, INC.’S
v.                                                    INITIAL DISCLOSURES

BAY TEK ENTERTAINMENT, INC.,

         Defendant.



BAY TEK ENTERTAINMENT, INC.,

         Counterclaim Plaintiff,
v.

FULL CIRCLE UNITED, LLC,

         Counterclaim Defendant,

and

ERIC PAVONY,

         Additional Counterclaim Defendant.



         Pursuant to Fed. R. Civ. P. 26(a)(1), Bay Tek Entertainment, Inc. (“Bay Tek”), by and

through its undersigned attorneys, makes the following initial disclosures based on information

reasonably available to it at this time. Continuing investigation and discovery may alter these

disclosures and, accordingly, Bay Tek expressly reserves its right to amend and/or supplement this

document, including as provided by Fed. R. Civ. P. 26(e).

         By making these disclosures, Bay Tek does not represent that it is identifying every

document, tangible thing, or witness possibly relevant to this lawsuit, nor does it waive its right to

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object to the production of any document or tangible thing on the basis of any privilege, the work

product doctrine, relevancy, undue burden, or any other valid objection. Rather, Bay Tek’s

disclosures are a good-faith effort to identify information it reasonably believes is discoverable

and which may be used to support its claims or defenses as required by Fed. R. Civ. P. 26(a)(1).

         Finally, Bay Tek’s disclosures are made without waiving or relinquishing in any way its

right to object (1) on the grounds of competency, privilege, relevancy and materiality, hearsay, or

any other proper ground, to the use of any such information, for any purpose, in whole or in part,

in any subsequent proceeding in this action or any other action; and (2) on any and all grounds, at

any time, to any other discovery request or proceeding involving or relating to the subject matter

of these disclosures.

         All of the following disclosures are made subject to the above objections and qualifications.



         A.     Individuals Likely to Have Discoverable Information—Fed. R. Civ. P.
                26(a)(1)(A)(i)

         Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(i), Bay Tek identifies the following individuals as

likely having discoverable information that Bay Tek may use to support its claims or defenses in

this action. Bay Tek does not provide consent for Full Circle United, LLC and Eric Pavony to

contact any of Bay Tek’s current or former employees or representatives regarding this matter,

including, but not limited to, the individuals listed below. Any such contact should be made

through Bay Tek’s undersigned counsel, Mitchell Silberberg & Knupp LLP.

                1.      Corporate representative(s) of Bay Tek
                        c/o Mitchell Silberberg & Knupp LLP
                        437 Madison Avenue, 25th Floor
                        New York, New York 10022


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         The corporate representative(s) of Bay Tek is/are likely to have discoverable information

regarding (i) the breaches of the Confidential License Agreement by Full Circle; and (ii) damages

to Bay Tek as a result of Full Circle’s and Eric Pavony’s activities.

                2.      Corporate representative(s) of Full Circle
                        c/o Zuckerman Spaeder LLP
                        485 Madison Ave., 10th Floor
                        New York, NY 10022

         The corporate representative(s) of Full Circle is/are likely to have discoverable information

regarding (i) Full Circle’s breaches of the Confidential License Agreement; (ii) Full Circle’s

infringement of the Mark; (iii) the purported facts upon which the allegations in Full Circle’s

Complaint are premised; and (iv) Full Circle’s claim for damages in the Complaint.

                3.      Eric Pavony
                        c/o Zuckerman Spaeder LLP
                        485 Madison Ave., 10th Floor
                        New York, NY 10022

         Mr. Pavony is likely to have discoverable information regarding (i) Full Circle’s breaches

of the Confidential License Agreement; (ii) Full Circle’s infringement of the Mark; (iii) the

purported facts upon which the allegations in Full Circle’s Complaint are premised; and (iv) Full

Circle’s claim for damages in the Complaint.

                4.      Eric Wikman
                        c/o Zuckerman Spaeder LLP
                        485 Madison Ave., 10th Floor
                        New York, NY 10022

         Mr. Wikman is likely to have discoverable information regarding (i) Full Circle’s breaches

of the Confidential License Agreement; (ii) Full Circle’s infringement of the Mark; (iii) the

purported facts upon which the allegations in Full Circle’s Complaint are premised; and (iv) Full

Circle’s claim for damages in the Complaint.

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               5.       Eric Cooper
                        c/o Zuckerman Spaeder LLP
                        485 Madison Ave., 10th Floor
                        New York, NY 10022

         Mr. Cooper is likely to have discoverable information regarding (i) Full Circle’s breaches

of the Confidential License Agreement; (ii) Full Circle’s infringement of the Mark; (iii) the

purported facts upon which the allegations in Full Circle’s Complaint are premised; and (iv) Full

Circle’s claim for damages in the Complaint.



         B.     Categories and Location of Documents—Fed R. Civ. P. 26(a)(1)(A)(ii)

         Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), at this time, Bay Tek identifies the following

categories of documents, which it may use to support its claims or defenses, to the extent such

documents exist, are within its possession, custody or control, and are not privileged. Copies of

such documents will be produced by Bay Tek’s counsel at a time and place to be agreed upon

among counsel, following entry of a suitable confidentiality order.

                1.      The Confidential Settlement Agreement.

                2.      The Confidential License Agreement.

                3.      Documents related to Full Circle’s breaches of the Confidential License
                        Agreement.

                4.      Documents related to Full Circle’s and Mr. Pavony’s infringements of the
                        Mark.

                5.      Correspondence between Bay Tek and Full Circle.

         Such documents are located in Bay Tek’s possession, custody or control or are in the

possession, custody or control of third parties to this action. Bay Tek’s document identification to

date is based solely upon such information and documents that Bay Tek has been able to discover

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thus far, as well as Bay Tek’s present analysis of the case, and shall not in any way be deemed to

be a representation that additional documents do or do not exist. Accordingly, Bay Tek reserves

the right to amend or supplement this disclosure pursuant to Fed. R. Civ. P. 26(e) if additional

documents are identified. Furthermore, Bay Tek reserves the right to supplement or modify this

disclosure based on information or documents subsequently identified as pertinent to disputed

facts.

         Bay Tek need not produce documents generally available to the public but reserves the

right to use such documents in this action.



         C.     Categories of Damages Claimed by Bay Tek—Fed. R. Civ. P. 26(a)(1)(A)(iii)

         Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iii), Bay Tek states that it is not currently in a

position to compute its monetary damages incurred as a result of Full Circle’s contractual breaches

and Full Circle’s and Mr. Pavony’s trademark infringement. To do so, Bay Tek requires additional

information from Defendants and/or third parties, and may require the assistance of experts.

         Bay Tek is entitled to recover from Full Circle and Eric Pavony (together, “Counterclaim

Defendants”): (i) an order requiring Counterclaim Defendants to pay Bay Tek damages arising

from Counterclaim Defendants’ trademark infringement, false endorsement, trademark dilution,

and unfair competition, such damages to be trebled in view of Counterclaim Defendants’ willful,

knowing, and intentional violation of Bay Tek’s rights in the Mark; (ii) an order requiring

Counterclaim Defendants to pay Bay Tek all gains, profits, and other advantages derived by

Counterclaim Defendants from their unlawful conduct, and that such profits be enhanced pursuant

to 15 U.S.C. § 1117; (iii) pursuant to 15 U.S.C. § 1116, an order temporarily, preliminarily, and


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permanently enjoining Counterclaim Defendants, their officers, agents, servants, employees,

members, managing members, directors, and all persons in active concert or participation with

each or any of them, from further using or displaying the Mark or any colorable imitation of the

Mark; (iv) an order requiring Full Circle to pay Bay Tek direct and consequential damages arising

from Full Circle’s material breaches of the License Agreement; (v) a declaration that the License

Agreement is terminated in light of Full Circle’s incurable breaches thereof; (vi) an order requiring

Counterclaim Defendants to pay Bay Tek its costs and reasonable attorney’s fees incurred,

pursuant to 15 U.S.C. § 1117 and § 14.1 of the License Agreement; (vii) pre-judgment and post-

judgment interest at the applicable rate; and (viii) other and further relief as the Court deems just

and proper.

         Bay Tek reserves the right to supplement this initial disclosure upon completion of its

ongoing evaluation of damages to Bay Tek and, at the appropriate time, may make expert

disclosures pursuant to Fed. R. Civ. P. 26(a)(2).




         [remainder of page left blank intentionally]




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         D.     Insurance—Fed. R. Civ. P. 26(a)(1)(A)(iv)

         Bat Tek is not presently aware of any insurance policies that meet the criteria of Fed. R.

Civ. P. 26(a)(1)(A)(iv). Bay Tek is continuing to investigate if any such policy exists, and will

supplement these disclosures if and when it becomes aware of same.




 DATED: New York, New York                           Respectfully submitted,
        September 25, 2020
                                                     Mitchell Silberberg & Knupp LLP



                                                     By: /s/ Jeffrey M. Movit
                                                         Christine Lepera
                                                         Jeffrey M. Movit
                                                         Leo Lichtman
                                                         437 Madison Ave., 25th Floor
                                                         New York, New York 10022-7001
                                                         Telephone: (212) 509-3900
                                                         Facsimile: (212) 509-7239
                                                         Email: ctl@msk.com
                                                         Email: jmm@msk.com
                                                         Email: lml@msk.com

                                                         Attorneys for Defendant and Counterclaim
                                                         Plaintiff Bay Tek Entertainment, Inc.




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


FULL CIRCLE UNITED, LLC,                            CASE NO. 1:20-CV-03395

         Plaintiff,                                  BAY TEK ENTERTAINMENT, INC.’S
v.                                                   AMENDED INITIAL DISCLOSURE
                                                     UNDER FED. R. CIV. P. 26(a)(1)(A)(iii)
BAY TEK ENTERTAINMENT, INC.,

         Defendant.



BAY TEK ENTERTAINMENT, INC.,

         Counterclaim Plaintiff,
v.

FULL CIRCLE UNITED, LLC,

         Counterclaim Defendant,

and

ERIC PAVONY,

         Additional Counterclaim Defendant.



         Pursuant to Fed. R. Civ. P. 26(a)(1), Bay Tek Entertainment, Inc. (“Bay Tek”), by and

through its undersigned attorneys, hereby amends its computation of each category of damages

disclosure under Fed. R. Civ. P. 26(a)(1)(A)(iii) based on information reasonably available to it at

this time.     Continuing investigation and discovery may alter Bay Tek’s disclosure and,

accordingly, Bay Tek expressly reserves its right to amend and/or supplement this document,

including as provided by Fed. R. Civ. P. 26(e). Bay Tek hereby incorporates by reference the


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objections and qualifications in its Initial Disclosures served on September 25, 2020. Subject to

those objections and qualifications, Bay Tek states as follows:

         A.     Categories of Damages Claimed by Bay Tek—Fed. R. Civ. P. 26(a)(1)(A)(iii)

         Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iii), Bay Tek states that it seeks the following

remedies and categories of damages:

         First, Bay Tek seeks a judicial declaration that Full Circle United LLC’s (“Full Circle”)

rights under the July 17, 2014 License Agreement (“License Agreement”) are terminated as a result

of Full Circle’s numerous material and incurable breaches thereof, and furthermore seeks a judicial

declaration that Full Circle’s rights under the License Agreement are terminable at will, separate

and apart from Full Circle’s numerous material and incurable breaches thereof.

         Second, for Counterclaim Defendants’ trademark infringement, false endorsement,

trademark dilution, and unfair competition (and Full Circle’s concomitant breaches of the License

Agreement), Bay Tek seeks to disgorge Counterclaim Defendants’ profits including but not limited

to pursuant to 15 U.S.C. § 1117(a) and N.Y. G.B.L § 360-m. Bay Tek furthermore intends to seek

treble profits including but not limited to pursuant to 15 U.S.C. § 1117(b), due to Counterclaim

Defendants’ use of a counterfeit mark, namely, an exact reproduction of the Skee-Ball® trademark

(the “Mark”) in connection with services for which Counterclaim Defendants are wholly

unauthorized to use the Mark; and N.Y. G.B.L. § 360-m, because Counterclaim Defendants have

committed their wrongful acts with knowledge and in bad faith. Because the calculation of

Counterclaim Defendants’ profits depends upon information in the possession of Counterclaim

Defendants and/or third parties, and because Counterclaim Defendants have not yet produced Full

Circle financials from 2005 to present, as ordered by the Special Master on August 25, 2021, Bay

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Tek is not currently in a position to provide an exact number, nor is it required to do so at this time.

See, e.g., Green Edge Enters., LLC v. Rubber Mulch Etc., LLC, 620 F.3d 1287, 1304 (Fed. Cir.

2010); New York Racing Ass’n, Inc v. Stroup News Agency Corp., 920 F. Supp. 295, 300 (N.D.N.Y.

1996); Gucci Am., Inc. v. Rebecca Gold Enters., Inc., 798 F. Supp. 177, 182 (S.D.N.Y. 1992).

         Third, for Counterclaim Defendants’ trademark infringement, false endorsement,

trademark dilution, and unfair competition (and Full Circle’s concomitant breaches of the License

Agreement), Bay Tek seeks an order requiring Counterclaim Defendants to pay Bay Tek its costs

and reasonable attorney’s fees incurred, including but not limited to pursuant to 15 U.S.C. § 1117

and N.Y. G.B.L. § 360-m. Bay Tek is not required to provide a computation at this time. See,

e.g., Smith v. AS Am., Inc., 829 F.3d 616, 624 (8th Cir. 2016); Antolini v. McColskey, 335 F.R.D.

361, 363 (S.D.N.Y. 2020).

         Fourth, for Counterclaim Defendants’ trademark infringement, false endorsement,

trademark dilution, and unfair competition (and Full Circle’s concomitant breaches of the License

Agreement), Bay Tek seeks an order including but not limited to pursuant to 15 U.S.C. § 1116,

N.Y. G.B.L. § 360-l, and N.Y. G.B.L. § 360-m permanently enjoining Counterclaim Defendants,

their officers, agents, servants, employees, members, managing members, directors, and all

persons in active concert or participation with each or any of them, from further using or displaying

the Mark or any colorable imitation of the Mark.

         Fifth, for Full Circle’s failure to provide Bay Tek with 5% of Gross Sponsorship Revenues

pursuant to Sections 3.1(d), 4.1, and 8.1 of the License Agreement, Bay Tek seeks the difference

between 5% of Full Circle’s Gross Sponsorship Revenues actually received on one hand, including

—as identified by Full Circle in its Amended Answer to Bay Tek’s Interrogatory No. 5 (“Amended

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Response”)—the fair market value of all non-monetary consideration received by Full Circle,

including, inter alia, one NUC computer, three bicycles, one television, swag prizes, two Pop-A-

Shots, t-shirts, umbrellas, Red Bull, and fanny packs; and the amount in royalties that Bay Tek has

received to date on the other hand, namely, $161.50. Bay Tek submits that Full Circle’s Amended

Response is not complete or comprehensive, as it blatantly omits numerous brands that have

appeared to openly sponsor and/or endorse Live Play, including inter alia, Barstool Sports, Coors

Light, and White Claw. Moreover, Bay Tek has not been provided with the executed Sponsorship

Agreements (as specified in Sections 3.1(d) and 4.3 of the License Agreement), nor has it been

provided with the exact non-monetary consideration which Full Circle received, other than at a

very high level. As such, Bay Tek is not currently in a position to provide an exact number. Bay

Tek is still seeking to learn in discovery the full amount of Full Circle’s Gross Sponsorship

Revenue and intends to supplement this calculation after receiving the information that Full Circle

has, to date, withheld from Bay Tek.

         Sixth, Bay Tek seeks pre-judgment and post-judgment interest, and other and further relief

as the Court deems just and proper.

         Bay Tek reserves the right to supplement this disclosure upon completion of its ongoing

evaluation of damages to Bay Tek.




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 DATED: New York, New York       Respectfully submitted,
        September 10, 2021
                                 Mitchell Silberberg & Knupp LLP



                                 By: /s/ Jeffrey M. Movit
                                     Christine Lepera
                                     Jeffrey M. Movit
                                     Leo Lichtman
                                     437 Madison Ave., 25th Floor
                                     New York, New York 10022-7001
                                     Telephone: (212) 509-3900
                                     Facsimile: (212) 509-7239
                                     Email: ctl@msk.com
                                     Email: jmm@msk.com
                                     Email: lml@msk.com

                                     Attorneys for Defendant and Counterclaim
                                     Plaintiff Bay Tek Entertainment, Inc.




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